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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA
Plaintiff,
CASE NO. 2:19-cer-20626-NGE-DRC
¥,
EMANUELE PALMA,
Defendant

/

¥

STIPULATION FOR ORDER MODIFYING DEFENDANT EMANUELE
PALMA’S CONDITIONS OF RELEASE AND PERMIT TRAVEL

The parties have conferred and agree, subject to the Court’s judgment, to
the entry of an order modifying the conditions of defendant Emanuele Palma’s

pretrial release (ECF No. 7.) as follows:

1. Mr. Palma was released on a $10,000 unsecured bond following his
initial appearance on September 24, 2019. (ECF No. 8.). Condition
(7)(g) of the Release Order initially provided that Mr. Palma may not
travel outside the state of Michigan without the “previous consent of
the pretrial services office, supervising officer or the court.” (ECF No.
7.). Condition (7)(e) required Mr. Palma to surrender his passport or

any other mnternational travel document to the Pretrial Services Office,
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and Condition (7)(f) required Mr. Palma not to obtain a passport or any

other international travel document.

On February 1, 2023, on the parties’ stipulation, the Court modified
Condition (7)(g) to allow Mr. Palma to travel within the continental
United States without receiving the prior consent of the Pretrial

Services Office. (ECF Nos. 196 &197,).

Mr. Palma has, at all times, adhered to the terms of his pretrial release
since they were initially imposed on September 24, 2019. The Pretrial
Services Office has twice relaxed Mr. Palma’s reporting requirements
—first in December 2019, when it allowed him to submit his monthly
reporting online, and again in February 2021, when it lifted his monthly:

reporting obligations altogether.

Mr. Palma is in the process of relocating his family from the Eastern
District of Michigan to Italy. With the Court’s permission, he intends
to travel to Italy in order to help his family settle there. Mr. Palma will
continue to abide by all conditions of his pretrial release, including

reporting as directed by the Court.

Under these circumstances, Conditions (7)(e), 7(f), and (7)(g) should be

modified to allow Mr. Palma to take possession of his passport and
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travel between the United States and Italy on dates and with specific
travel plans as disclosed to and approved by the Pretrial Services
Office. Given Mr. Palma’s record of compliance, this modification is
the “least restrictive further condition” that “will reasonably assure” his
appearance at trial or, in this case, sentencing. 18 U.S.C.

§ 3142(c)(1)(B); see also United States v. Vasilakos, 508 F.3d 401, 410

(6th Cir. 2007).

The proposed Order based on this Stipulation is being submitted through

the ECF Utilities function.

SO STIPULATED.
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Dated: July 19, 2023

 

/s/ John_K. Neal sf Greg D. Andres
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SCUTHERN DIVISION

UNITED STATES OF AMERICA
Plaintiff,

CASE NO. 2:19-cr-20626-NGE-DRG
v.

EMANUELE PALMA,

Defendant

/

ORDER Mi ODIFYING CONDITIONS OF RELEASE AND PERMITTING

TRAVEL
On the stipulation of the parties, Conditions (7)(e), 7(f), and (7)(g) of the
Order Setting Conditions of Release as to Defendant Emanuele Palma, (ECF No.
7), are modified as follows: Defendant Emanuele Palma may take possession of
his passport from the Pretrial Services Office for the purpose of traveling
between the United States and Italy with the prior consent of the Pretrial Services
Office and after providing the Pretrial Services Office with such information

regarding his travel plans as it requests of him.

Dated: July 19, 2023
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HON. NANCY G. EDMUNDS
UNITED STATES DISTRICT FUDGE
